Case 1:16-cv-01084- --G.]Q RSK ECF No. 19 filed 04/24/17 Page|D. 2222 Page 1 of 1

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- ._*` UNITED STATES DISTRICT COURT {" $'(,J \

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April 24, 2017

Ingham County Circuit Court

315 S. Jefferson Street

Mason, MI 48854

RE: Michigan, State of v. M22 LLC
Our Case No. l:l6-cv-1084 Hon. Gordon J. Quist
Your Case No. 16-00648-CZ

Dear Court Personnel:

Pursuant to the enclosed Order of Remand to your Court filed April 21, 2017, We are herewith
sending certified copies of our order of remand and docket sheet.

The documents that make up the case file are available electronically through PACER. Please
contact our e-filing help desk via email at ecfhelp@miwd.uscourts.gov if you need further

assistance

Please acknowledge receipt of this remanded case by returning a date-stamped copy of this letter
to our court in the enclosed self-addressed envelope. Thank you.

Sincerely,
CLERK OF COURT
/s/ Christa

By: Deputy Clerk

